Richardson came into the courthouse about other business, and Davie for the plaintiff, moved that he might answer to his garnishment.
This was objected to by Martin for the garnishee, who said that Richardson could not be compelled to answer before due service. A garnishee may be considered as a witness, or as a party to the suit.
A witness is not compellable to give evidence if he has not been legally summoned.
It is no contempt of the Court for a bystander to refuse to be examined.Bowles v. Johnston, 1 Blackst. Rep., 26.
The case is much stronger if he be considered as a party. He must then be regularly brought in, and the law gives him two terms to determine on one of the alternatives which it holds out to him, either to give bail, suffer judgment to go against him for the whole debt, or submit to an examination.